                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


         In re:                                                             Chapter 11

         DAVID’S BRIDAL, INC., et al.,1                                     Case No. 18-12635 (LSS)

                                               Debtors.                     Jointly Administered


                      NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED FOR
                             HEARING ON JANUARY 4, 2019 AT 1:30 P.M. (ET)

         CONTESTED MATTERS GOING FORWARD

         1.         Confirmation of Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                    Bankruptcy Code [D.I. 12, 11/19/18]

                    Confirmation Response Deadline:                      December 21, 2018 at 5:00 p.m. (ET)
                                                                         [Extended for certain parties]

                    Assumption Objection Deadline:                       December 14, 2018 at 4:00 p.m. (ET)
                                                                         [Extended for certain parties]

                    Responses Received:                                  See Exhibit A attached hereto

                    Related Documents:

                        A.       Disclosure Statement for Joint Prepackaged Plan of Reorganization Under
                                 Chapter 11 of the Bankruptcy Code [D.I. 13, 11/19/18]

                        B.       Order (A) Scheduling Combined Hearing to Consider (I) Approval of
                                 Disclosure Statement, (II) Approval of Solicitation Procedures and Forms of
                                 Ballots, and (III) Confirmation of Prepackaged Plan; (B) Establishing an
                                 Objection Deadline to Object to Disclosure Statement and Plan;
                                 (C) Approving the Form and Manner of Notice of Combined Hearing,
                                 Objection Deadline, and Notice of Commencement; (D) Approving Notice
                                 and Objection Procedures for the Assumption of Executory Contracts and

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                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
                are: David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc.
                (3096). The location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken,
                Pennsylvania 19428.

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                Amended items appear in bold.

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                     Unexpired Leases; (E) Extending Time, and Upon Plan Confirmation,
                     Waiving of Requirements to (I) Convene Section 341 Meeting, and (II) File
                     Statements of Financial Affairs and Schedules of Assets and Liabilities; and
                     (F) Granting Related Relief [D.I. 95, 11/20/18]

                C.   Notice of Commencement of Cases Under Chapter 11 of the Bankruptcy Code
                     and Summary of Joint Prepackaged Chapter 11 Plan and Notice of Hearing to
                     Consider (A) Adequacy of Disclosure Statement and Solicitation Procedures;
                     (B) Confirmation of Plan of Reorganization; and (C) Related Materials
                     [D.I. 105, 11/21/18]

                D.   Notice of Assumption of Executory Contracts and Unexpired Leases of
                     Debtors and Related Procedures [D.I. 138, 11/30/18]

                E.   Notice of Filing of Plan Supplement to Proposed Joint Prepackaged Plan of
                     Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 167,
                     12/11/18]

                F.   Declaration of Jung W. Song on Behalf of Donlin, Recano & Company, Inc.
                     Regarding Solicitation of Votes and Tabulation of Ballots Accepting and
                     Rejecting Proposed Joint Prepackaged Plan of Reorganization Under Chapter
                     11 of the Bankruptcy Code [D.I. 247, 12/28/18]

                G.   Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                     Bankruptcy Code [D.I. 248, 12/28/18]

                H.   Notice of Filing of Blackline for Revised Proposed Joint Prepackaged Plan of
                     Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 249,
                     12/28/18]

                I.   Declaration of Carrianne J.M. Basler in Support of Confirmation of the
                     Debtors’ Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                     Bankruptcy Code [D.I. 249, 12/28/18]

                J.   Debtors’ (1) Memorandum of Law in Support of (I) Approval of
                     (A) Disclosure Statement, (B) Solicitation of Votes and Voting Procedures,
                     and (C) Form of Ballots, and (II) Confirmation of Joint Prepackaged Chapter
                     11 Plan of Reorganization of David’s Bridal, Inc. and Its Affiliated Debtors
                     and (2) Omnibus Reply to Objections Thereto [D.I. 251, 12/28/18]

                K.   Declaration of Stephen Goldstein in Support of Confirmation of the Debtors’
                     Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                     Bankruptcy Code [D.I. 252, 12/28/18]

                L.   Notice of Filing of Proposed Confirmation Order [D.I. 253, 12/28/18]


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                   M.     Motion for Leave to Exceed Page Limit Requirements With Respect to
                          Debtors’ (1) Memorandum of Law in Support of (I) Approval of
                          (A) Disclosure Statement, (B) Solicitation of Votes and Voting Procedures,
                          and (C) Form of Ballots, and (II) Confirmation of Joint Prepackaged Chapter
                          11 Plan of Reorganization of David’s Bridal, Inc. and Its Affiliated Debtors
                          and (2) Omnibus Reply to Objections Thereto [D.I. 254, 12/28/18]

                   N.     Notice of Filing of Supplements to Plan Supplement to Proposed Joint
                          Prepackaged Plan of Reorganization Under Chapter 11 of the Bankruptcy
                          Code [D.I. 255, 12/28/18]

                   O.     Notice of Filing of Additional Supplements to Plan Supplement to
                          Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of
                          the Bankruptcy Code [D.I. 267, 1/3/19]

                   P.     Declaration of Joan Hilson, Executive Vice President and Chief Financial
                          and Operating Officer of the Debtors, in Support of Chapter 11 Petitions
                          and First Day Pleadings [D.I. 19, 11/19/18]

                   Q.     Notice of Filing of Revised Proposed Confirmation Order [D.I. 273,
                          1/4/19]

                Status:   A chart setting forth the status of the objections is attached as Exhibit A to the
                          Debtors’ Memorandum of Law (Item J above). A column indicating the
                          current status of the objections has been added to Exhibit A hereto. The
                          combined hearing on disclosure statement approval and plan confirmation is
                          going forward.

         2.     Debtors’ Application for Entry of an Order Authorizing the Debtors to Employ and
                Retain Evercore Group L.L.C. as Investment Banker Effective Nunc Pro Tunc to the
                Petition Date [D.I. 128, 11/29/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)
                                                             [Extended for various creditors until 11:00
                                                             a.m. (ET) on December 14, 2018]

                Related Documents:

                   A.     Debtors’ Motion for an Order Granting the Debtors Leave and Permission to
                          File the Debtors’ Reply to Limited Objection to Debtors’ Application to
                          Retain Evercore Group L.L.C. as Investment Banker [D.I. 200, 12/17/18]

                   B.     Motion for Leave to File Late Reply of Evercore Group L.L.C. in Support of
                          Debtors’ Application for Entry of an Order Authorizing the Debtors to
                          Employ and Retain Evercore Group L.L.C. as Investment Banker Effective
                          Nunc Pro Tunc to the Petition Date [D.I. 201, 12/17/18]

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                   C.     Supplemental Declaration of Stephen Goldstein in Support of the Debtors’
                          Application for an Order Authorizing the Debtors to Employ and Retain
                          Evercore Group L.L.C. as Investment Banker Effective Nunc Pro Tunc to the
                          Petition Date [D.I. 202, 12/17/18]

                Responses Received:

                   D.     Informal comments from the Office of the United States Trustee

                   E.     Limited Objection of Various Creditors (Oaktree Capital Management,
                          Courage Capital Management, AlbaCore Capital LLP, and Deutsche Bank
                          AG Cayman Islands Branch) [D.I. 181, 12/14/18]

                   F.     Declaration of Martin Lewis in Support of Limited Objection by Various
                          Creditors to Debtors’ Application to Retain Evercore Group L.L.C. as
                          Investment Banker [D.I. 198, 12/15/18]

                   G.     Notice of Filing Amended Schedule to Lewis Declaration [D.I. 256, 12/30/18]

                Status:   The Debtors have revised the proposed order to address the comments
                          received from the Office of the United States Trustee. The Debtors and
                          Evercore have sought leave to file a reply in support of the Application and in
                          response to Item E. This matter is going forward.

         CONTINUED MATTER

         3.     Debtors’ Motion for Entry of an Order Extending Time to Assume or Reject
                Unexpired Leases of Nonresidential Real Property [D.I. 141, 11/30/18]

                Response Deadline:                         December 14, 2018 at 4:00 p.m. (ET)

                Related Documents:                         None

                Responses Received:

                   A.     Informal comments from certain landlords

                Status:   This matter will be resolved by an order approving Item 1. In the event
                          that Item 1 is not approved, the Debtors intend to submit a revised form
                          of order under certification of counsel after the hearing, which resolves
                          the informal comments received. This matter is continued.




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         Dated:   January 4, 2019        /s/ Jaime Luton Chapman
                  Wilmington, Delaware   YOUNG CONAWAY STARGATT & TAYLOR, LLP
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                                         Edmon L. Morton (No. 3856)
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                                         -and-

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                                         Co-Counsel for the Debtors and Debtors in Possession




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                                                                                 EXHIBIT A


                    Objections to the Debtors’ Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy
                    Code1

                OBJECTION                                                                                                         STATUS

         1 Maricopa County Treasurer’s Objection of Proposed Joint Prepackaged Plan of the Notice of Withdrawal Filed
           Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 183, 12/14/18]     [D.I. 260, 1/2/19]

         2 Limited Objection of Brookfield Properties Retail Group, Hines Real Estate Investment Trust, Resolution Pending
           Inc., Philips International Holding Corp., and Site Centers Corp. to the Proposed Joint
           Prepackaged Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 232,
           12/21/18]

         3 Limited Objection of ARC CTCHRNC001, LLC, ARC SSSDLLA001, LLC, Brixmor Operating Resolution Pending
           Partnership LP, Centerpoint Development Company L.L.C., Federal Realty Investment Trust,
           Gateway Pinole Vista, LLC, Manana-DCIT, LLC, MT San Antonio I, LLC, PGIM Real Estate,
           R46 Realty Associates, L.P., Starwood Retail Partners, LLC, and the Macerich Company to the
           Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the Bankruptcy Code
           [D.I. 235, 12/21/18]




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                The Debtors received informal comments from the United States and the Texas Comptroller of Public Accounts, which have been resolved through language
                in the proposed confirmation order. The Debtors also received informal comments from the Office of the United States Trustee, which have been resolved
                or the Debtors anticipate will be resolved in advance of the hearing.




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                  Objections to (A) the Debtors’ Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy
                  Code and (B) the Debtors’ Assumption of Executory Contracts and Unexpired Leases

                OBJECTION                                                                                 STATUS

         4      A Weingarten’s Limited Objection to (1) Notice of Assumption of Executory Contracts and Resolved
                  Unexpired Leases of Debtors and Related Procedures, (2) Joint Prepackaged Chapter 11
                  Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, and (3) Disclosure
                  Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of
                  the Bankruptcy Code [D.I. 164, 12/11/18]

                B Supplement to Weingarten’s Limited Objection to (1) Notice of Assumption of Executory Resolved
                  Contracts and Unexpired Leases of Debtors and Related Procedures, (2) Joint Prepackaged
                  Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, and (3)
                  Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization Under
                  Chapter 11 of the Bankruptcy Code [D.I. 257, 12/31/18]

         5      4545 Kennedy, LLC’s Limited Objection to (1) Notice of Assumption of Executory Contracts Notice of Withdrawal Filed
                and Unexpired Leases of Debtors and Related Procedures, (2) Joint Prepackaged Chapter 11 [D.I. 263, 1/3/19]
                Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, and (3) Disclosure Statement
                for the Joint Prepackaged Chapter 11 Plan of reorganization Under Chapter 11 of the Bankruptcy
                Code [D.I. 190, 12/14/18]

         6      Spring Creek Improvements, LLC, Fairview Heights Improvements, LLC, Agree Limited Notice of Withdrawal Filed
                Partnership, Ramco West Oaks II, LLC, and Villa View, LLC’s Limited Objection to (1) Notice [D.I. 262, 1/3/19]
                of Assumption of Executory Contracts and Unexpired Leases of Debtors and Related
                Procedures, (2) Joint Prepackaged Chapter 11 of the Bankruptcy Code, and (3) Disclosure
                Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the
                Bankruptcy Code [D.I. 191, 12/14/18]




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                OBJECTION                                                                                  STATUS

         7      A Limited Objection and Reservation of Rights of Salesforce.com, Inc. to the Assumption and Resolved
                  Assignment of Executory Contracts and Release [D.I. 184, 12/14/18]

                B Declaration of Kevin Ramirez in Support of the Limited Objection and Reservation of
                  Rights of Salesforce.com, Inc. to the Assumption and Assignment of Executory Contracts
                  [D.I. 185, 12/14/18]

         8      Joinder of Washington Prime Group Inc. to the Limited Objection of Certain Landlords to the Resolved
                Debtors’ Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                Bankruptcy Code [D.I. 231, 12/21/18]

         9      Limited Objection, Joinder and Reservation of Rights of Cumberland Avenue Plaza, L.L.C. to Resolved
                the Debtors’ (I) Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                Bankruptcy Code, and (II) Disclosure Statement for Joint Prepackaged Chapter 11 Plan of
                Reorganization of David’s Bridal, Inc. and its Affiliated Debtors [D.I. 233, 12/21/18]

         10 Joinder of Madison Waldorf LLC to Weingarten’s Limited Objection to (1) Notice of Notice of Withdrawal Filed
            Assumption of Executory Contracts and Unexpired Leases of Debtors and Related Procedures, [D.I. 264, 1/3/19]
            (2) Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy
            Code, and (3) Disclosure Statement for the Joint Prepackaged Plan of Reorganization Under
            Chapter 11 of the Bankruptcy Code [D.I. 234, 12/21/18]

         11 Comenity Capital Bank’s Limited Objection and Reservation of Rights with Respect to (1) the Resolved
            Notice of Assumption of Executory Contracts and Unexpired Leases of Debtors and Related
            Procedures and (2) the Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of
            the Bankruptcy Code [D.I. 246, 12/28/18]




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                 Objections to the Debtors’ Assumption of Executory Contracts and Unexpired Leases

                OBJECTION                                                                               STATUS

         12 Limited Objection and Reservation of Rights of Cumberland Avenue Plaza, L.L.C. to the Resolved
            Debtors’ Notice of Assumption of Executory Contracts and Unexpired Leases of Debtors and
            Related Procedures [D.I. 186, 12/14/18]

         13 CBL & Associates Management, Inc.’s Limited Objection to Debtor’s Stated Cure Amounts Notice of Withdrawal Filed
            [D.I. 192, 12/14/18]                                                                  [D.I. 261, 1/2/19]

         14 Limited Objection of Washington Prime Group Inc. to the Notice of Assumption of Executory Notice of Withdrawal Filed
            Contracts and Unexpired Leases of Debtors and Related Procedures [D.I. 193, 12/14/18]     [D.I. 271, 1/4/19]

         15 Limited Objection of Brookfield Properties Retail Group, Hines Real Estate Investment Trust, Resolution Pending
            Inc., Philips International Holding Corp., and Site Centers Corp. to the Notice of Assumption of
            Executory Contracts and Unexpired Leases of Debtors and Related Procedures [D.I. 197,
            12/14/18]

         16 Limited Objection, Joinder and Reservation of Rights of Levin Management Corporation to the Notice of Withdrawal Filed
            Notice of Assumption of Executory Contracts and Unexpired Leases of Debtors and Related [D.I. 265, 1/3/19]
            Procedures [D.I. 204, 12/17/18]

         17 Limited Objection of KIR Maple Grove L.P., KIR Tukwila, L.P., 280 Metro Limited Partnership
                                                                                                        Notice of Withdrawal Filed
            and Amerishop Suburban, L.P. to Debtors’ Notice of Assumption of Unexpired Leases of
                                                                                                        [D.I. 269, 1/4/19]
            Debtors and Related Procedure [D.I. 225, 12/19/18]

         18 Limited Objection of ARC CTCHRNC001, LLC, ARC SSSDLLA001, LLC, Brixmor Operating Resolution Pending
            Partnership LP, Centerpoint Development Company L.L.C., Federal Realty Investment Trust,
            Gateway Pinole Vista, LLC, Manana-DCIT, LLC, PGIM Real Estate, R46 Realty Associates,
            L.P., Starwood Retail Partners, LLC, The Macerich Company and Weitzman to the Notice of
            Assumption of Executory Contracts and Unexpired Leases of Debtors and Related Procedures
            [D.I. 229, 12/20/18]



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                 Objections to the Debtor’s Combined (1) Determination of the Adequacy of Their Disclosure Statement and
                 (2) Confirmation of their Proposed Join Prepackaged Plan of Reorganization Including but not Limited to the Releases
                 Contained in The Plan

                OBJECTION                                                                                 STATUS

         19 Objections and Reservation of Rights of Jenny Yoo Collection, Inc. to the Debtors Sought After Resolved
            Combined (1) Determination of the Adequacy of their Disclosure Statement and
            (2) Confirmation of Their Proposed Joint Prepackaged Plan of Reorganization Including but not
            Limited to the Releases Contained in the Plan [D.I. 238, 12/21/18]




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